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 PROPOSED COUNSEL FOR THE DEBTOR

                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                 FORT WORTH DIVISION

 In re:                                          §
                                                 §        Case No. 24-42429
 PEGASO ENERGY SERVICES, LLC,                    §
                                                 §        (Chapter 11)
          Debtor.                                §
                                                 §
                                                 §
 PEGASO ENERGY SERVICES, LLC,                    §
                                                 §
          Plaintiff,                             §
                                                 §
 v.                                              §     ADVERSARY PROCEEDING
                                                 §     NO:
 LEA COUNTY STATE BANK,                          §
                                                 §
          Defendant.                             §
                                                 §
                                                 §

                                  ORIGINAL COMPLAINT

 TO THE HONORABLE MARK X. MULLIN, U.S. BANKRUPTCY JUDGE:

          COMES NOW Pegaso Energy Services, LLC (the “Debtor”), the debtor-in-possession in

 the above styled and numbered bankruptcy case (the “Bankruptcy Case”) and the plaintiff in this

 Adversary Proceeding, and files this its Original Complaint (the “Complaint”), complaining of

 Lea County State Bank (the “Bank”), and for cause and action would respectfully show as follows:




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                              I.      PROCEDURAL BACKGROUND

        1.      On July 15, 2024 (the “Petition Date”), the Debtor filed its voluntary petition for

 relief under Chapter 11 of the Bankruptcy Code, thereby initiating the Bankruptcy Case and

 creating its bankruptcy estate (the “Estate”).

        2.      The Debtor remains in possession of the Estate. No trustee or examiner has been

 appointed.

        3.      The Court has jurisdiction over this Complaint under 28 U.S.C. § 1334. Such

 jurisdiction is core under 28 U.S.C. § 157(b)(2). To the extent that any matter in this Adversary

 Proceeding is not core, the Debtor consents to this Court’s entry of a final judgment over any and

 all such matters.

        4.      Venue of this Adversary Proceeding before this Court is proper under 28 U.S.C. §§

 1408 and 1409.

                                            II.      PARTIES

        5.      The Debtor is the debtor-in-possession in the Bankruptcy Case.

        6.      Lea County State Bank is a state bank organized and existing under the laws of the

 State of New Mexico. Pursuant to Federal Rule of Bankruptcy Procedure 7004(b), the Bank may

 be served with process in this Adversary Proceeding by and through its registered agent, Samuel

 S. Spencer, Jr., as follows: Lea County State Bank, c/o Samuel S. Spencer, Jr, General Delivery,

 Hobbs, NM 88240.

                                             III.    FACTS

        7.      The Debtor provides oilfield services, including well completions and workovers.

        8.      In order to engage in its business, the Debtor requires the use of various rigs, which

 are large non-titled machines used to complete oil wells. The Debtor does not drill the well

 originally, but completes the job using the rigs.

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        9.      The Debtor purchased various such rigs, including the Subject Rigs (defined

 below), pursuant to several Irrevocable Equipment Lease Agreements (the “Leases”) with Capital

 Asset Resources (“Capital”) as lessor.

        10.     Capital subsequently assigned the Leases to the Bank.

        11.     None of the Leases may be terminated by the Debtor. Each of the Leases contains

 a provision requiring the Debtor to purchase the goods the subject of the Lease at the conclusion

 of the Lease term. This is not an option but is a requirement. Furthermore, the assignment of the

 Leases to the Bank evidences the intent of all parties that the Leases are financing agreements.

        12.     Accordingly, under the Uniform Commercial Code (the “UCC”), the Leases are not

 true leases but are instead financing agreement.

        13.     Furthermore, it appears that the Bank is not permitted to lease personal property

 under the laws of the State of New Mexico, thus further indicating that the intent of the Leases

 was that they be financing agreements.

        14.     The Bank purported to perfect its security interests by filing one or more UCC

 financing statements against the Debtor. The Debtor reserves all rights with respect to the validity,

 perfection, extent, and avoid ability of the same.

        15.     Prior to the Petition Date, the Bank repossessed the following rigs and related

 equipment (collectively, the “Subject Rigs”): (i) ER163ED191; (ii) ER164ED192; (iii)

 ER165ED193; (iv) ER196ED199; (v) ER2242014; (vi) ER2102013; and (vii) ER11208.

        16.     There is an eight rig subject to the Leases that remains in the Debtor’s possession.

        17.     Notwithstanding the repossession, the Bank has not foreclosed on the Subject Rigs.

 Thus, title to the Subject Rigs continues to reside with the Debtor and the Estate.

        18.     The Bank asserts that approximately $2.1 million is owing on all of its collateral,

 which includes not only the Subject Rigs and the rig remaining in the Debtor’s possession, but also

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 additional equipment subject to the Leases (all such rigs and equipment, the “Subject Goods”).

 The fair market value of the Leased Goods is between $4.5 million and $5.5 million.

        19.       The Debtor and the Estate have a need for the Subject Rigs and have a use for them,

 including to work jobs in process and jobs that have been secured, and including to monetize the

 Estate’s equity in the Subject Rigs.

        20.       The Subject Rigs are not of inconsequential value to the Estate.

        21.       The Bank has knowledge of the Bankruptcy Case.

        22.       The Debtor demanded return of the Subject Rigs on July 17, 2024, and again on

 July 18, 2024.

        23.       To-date, the Bank has refused to return or turn over the Subject Rigs. The Bank

 has not responded to the Debtor’s turnover demands. Hence the filing of this Complaint.

                                      IV.    CAUSES OF ACTION

 COUNT 1:         DECLARATORY JUDGMENT

        24.       The Debtor incorporates its allegations above.

        25.       An actual and present controversy exists regarding whether the Leases are true

 leases or financing agreements.

        26.       The Leases are governed by Texas law.

        27.       The Subject Rigs are “goods” under the UCC.

        28.       The Leases are not subject to early termination by the Debtor.

        29.       Because the Leases obligate the Debtor to purchase the Subject Goods at the

 conclusion of the lease term, the Leases are not true leases and are instead financing agreements

 under the UCC. See Texas Business and Commerce Code § 1.203(b)(2).

        30.       Accordingly, the Debtor requests declaratory judgment that the Leases are not true

 leases but are instead financing agreements creating security interests, and that the Debtor owns

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 the Subject Goods, subject to the Bank’s security interests (and with all rights regarding the same

 preserved).

 COUNT 2:       TURNOVER

         31.    The Debtor incorporates its allegations above.

         32.    Section 542(a) of the Bankruptcy Code provides that:

         Except as provided in subsection (c) or (d) of this section, an entity, other than a
         custodian, in possession, custody, or control, during the case, of property that the
         trustee may use, sell, or lease under section 363 of this title, or that the debtor may
         exempt under section 522 of this title, shall deliver to the trustee, and account for,
         such property or the value of such property, unless such property is of
         inconsequential value or benefit to the estate.

 11 U.S.C. § 542(a).

         33.    The Debtor may use the Subject Rigs under section 363 of the Bankruptcy Code.

 Among other things, the Debtor may use the Subject Rigs in its business, and has a need for the

 same, and the Debtor may sell the Subject Rigs and obtain the equity therein.

         34.    The Subject Rigs are not of inconsequential value to the Estate.

         35.    The turnover statute is self-effectuating.

         36.    The Debtor has made demand on the Bank to turn over the Subject Rigs. The Bank

 has refused.

         37.    The Bank has violated and continues to violate section 542(a) of the Bankruptcy

 Code.

         38.    Accordingly, the Debtor requests judgment commanding the Bank to immediately

 turn over the Subject Rigs to the Debtor at the Bank’s burden and expense.

                                             V.     PRAYER

         WHEREFORE, PREMISES CONSIDERED, the Debtor requests that the Bank be cited to

 appear and to answer this Complaint, and that it has judgment as follows:



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          (i)       declaratory relief that the Leases are not true leases;

          (ii)      immediate turnover of the Subject Rigs;

          (iii)     reasonable attorneys’ fees to the extent provided by applicable law; and

          (iv)      such other and further relief as may be appropriate.

          RESPECTFULLY SUBMITTED this 21st day of July, 2024.

                                                   MUNSCH HARDT KOPF & HARR, P.C.

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